           Case 2:06-cr-00198-RSL        Document 151       Filed 06/29/06    Page 1 of 3




 1
 2
 3
 4
 5
 6                          UNITED STATES DISTRICT COURT
 7                         WESTERN DISTRICT OF WASHINGTON
 8
                                     AT SEATTLE

 9
    UNITED STATES OF AMERICA, )
10                               )
                    Plaintiff,   )                CASE NO.      CR06-198 RSL
11                               )
             v.                  )
12                               )
                                 )                DETENTION ORDER
13 JOSE EDUARDO -LOPEZ,          )
    a.k.a. Eulogio Cruz-Salazar, )
14                               )
                                 )
15                  Defendant.   )
   ______________________________)
16
     Offense charged:
17
              Count I:      Conspiracy to Distribute Cocaine, Heroin, and Methamphetamine,
18
                            in violation of Title 21, United States Code, Sections 841(a)(1),
19
                            841(b)(1)(A) and 846.
20
     Date of Detention Hearing: June 29, 2006.
21
              The Court, having conducted an uncontested detention hearing pursuant to Title
22
     18 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for
23
     detention hereafter set forth, finds that no condition or combination of conditions which the
24
     defendant can meet will reasonably assure the appearance of the defendant as required and
25
     the safety of any other person and the community. The Government was represented by
26


     DETENTION ORDER
     PAGE -1-
         Case 2:06-cr-00198-RSL       Document 151      Filed 06/29/06    Page 2 of 3




 1 Todd Greenberg. The defendant was represented by Juanita Holmes.
 2          The Government filed a Motion for Detention, to which the defendant stipulates.
 3      FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 4          (1)   There is probable cause to believe the defendant committed the
 5                conspiracy drug offense. The maximum penalty is in excess of ten years.
 6                There is therefore a rebuttable presumption against the defendant’s
 7                release based upon both dangerousness and flight risk, under Title 18
 8                U.S.C. § 3142(e).
 9          (2)   Nothing in this record satisfactorily rebuts the presumption against
10                release for several reasons:
11                (a)    The defendant presents a risk of nonappearance due to the
12                       following: He is a citizen and national of Mexico; his background
13                       and ties to the Western District of Washington are
14                       unknown/unverified; he is associated with four alias names and
15                       three dates of birth; he has active bench warrants for his arrest and
16                       a history of failing to appear; and the Bureau of Immigration and
17                       Customs Enforcement has filed a detainer;
18                (b)    The defendant presents a risk of danger due to his criminal history
19                       and the nature of the instant offense; and
20                (c)    The defendant stipulates to detention.
21          (3)   Based upon the foregoing information which is consistent with the
22                recommendation of U.S. Pre-trial Services, it appears that there is no
23                condition or combination of conditions that would reasonably assure
24                future Court appearances and/or the safety of other persons or the
25                community.
26


     DETENTION ORDER
     PAGE -2-
         Case 2:06-cr-00198-RSL     Document 151       Filed 06/29/06    Page 3 of 3




 1         It is therefore ORDERED:
 2         (l)   The defendant shall be detained pending trial and committed to the
 3               custody of the Attorney General for confinement in a correction facility
 4               separate, to the extent practicable, from persons awaiting or serving
 5               sentences or being held in custody pending appeal;
 6         (2)   The defendant shall be afforded reasonable opportunity for private
 7               consultation with counsel;
 8         (3)   On order of a court of the United States or on request of an attorney for
 9               the Government, the person in charge of the corrections facility in which
10               the defendant is confined shall deliver the defendant to a United States
11               Marshal for the purpose of an appearance in connection with a court
12               proceeding; and
13         (4)   The clerk shall direct copies of this order to counsel for the United
14               States, to counsel for the defendant, to the United States Marshal, and to
15               the United States Pretrial Services Officer.
16         DATED this 29th day of June, 2006.



                                              A
17
18
19                                            Monica J. Benton
                                              U.S. Magistrate Judge
20
21
22
23
24
25
26


     DETENTION ORDER
     PAGE -3-
